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IN THE UN]`TED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION
UNITED STATES OF AMERICA
VS. CR. NO. 04-20417-Ma
ANTHONY TOWNER,
Defendant.

 

ORDER GRANTING MOTION TO CONTINUE SUPPRESSION HEARING

 

Befol‘e the court is the May 6, 2005, motion of the Defendant, Anthony Towner, for a
continuance of the suppression hearing Set for May 10, 2005. For good cause shoWn, the motion is
granted The hearing on the motion to suppress is reset for 'I`uesday, May 25, 2005 at 3:00 p.m.

IT ls so oRl)ERED this:he | l "~day OfMay, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DlSTRlCT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

